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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:14CR155

        vs.
                                                                               ORDER
CEDJI RODRIGUEZ,

                        Defendant.


This matter is before the court on defendant's MOTION TO CONTINUE PRETRIAL MOTION
DEADLINE [111]. For good cause shown, I find that the motion should be granted. The defendant will
be given an approximate 30-day extension. Pretrial Motions shall be filed by February 25, 2015.


        IT IS ORDERED:


        1.      Defendant's MOTION TO CONTINUE PRETRIAL MOTION DEADLINE [111] is
granted. Pretrial motions shall be filed on or before February 25, 2015.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between January 26, 2015 and February 25, 2015, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 30th day of January, 2015

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
